     Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 1 of 80
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                                                                                                                        Marilyn Burgess - District Clerk
                                                                                                                        Harris County

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    CASE NUMBER: _______                                    _          CURRENTCOURT: _______                                       _
    TYPE OF INSTRUMENT TO BE SERVED: Plaintiffs Original Petition
    FILE DATE OF MOTION: ______________                                                             _
    SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):
    *****************************************************irl:****************************irl:*irl:***********
    1.        NAME: TanMar Rentals, LLC, 800 Brazos, Ste 400, Austin, TX 78701-2538
               ADDRESS: 206 E. 9th St, Ste. 1300, Austin, TX 78701-4411
               AGENT, (if applicable): Capital Corporate Services, Inc.
    TYPE OF SERVICE/PROCESS TO BE ISSUED: _____________                                                                            _
    SERVICE BY:
       ATTORNEY PICK UP               CONSTABLE
    _  CIVIL PROCESS SERVER - Authorized Person to Pick-up: _________                                         Phone: ___           _
    XXX Certified MAIL                          OUT OF COUNTY
      PUBLICATION:
       Type of Publication: _ COURTHOUSE DOOR, or
                              NEWSPAPER OF YOUR CHOICE: ______                                                _
    _ OTHER, explain ___________________________                                                                               _

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    2.         NAME: TanMar Companies, LLC, 302 Unatex Rd, Eunice, LA 70535
                          c/o Brian J. Tanner, Registered Agent
               ADDRESS: 1019 Brazos St, Austin, TX 78701
               AGENT, (if applicable): Secretary of State
               TYPE OF SERVICE/PROCESS TO BE ISSUED: Citation
    TYPE OF SERVICE/PROCESS TO BE ISSUED:
    SERVICE BY:
         ATTORNEY PICK UP                            CONSTABLE
    XXX CIVIL PROCESS SERVER - Authorized Person to Pick-up: ________                                             Phone: ___       _
         MAIL                                   xxx    OUT OF COUNTY
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~   _OTHER,       explain ___________________________                                                                          _
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    3.         NAME: TanMar Communications, LLC, 302 Unatex Rd, Eunice, LA 70535
                          c/o Brian J. Tanner, Registered Agent
               ADDRESS: 1019 Brazos St, Austin, TX 78701
               AGENT, (if applicable): Secretary of State
               TYPE OF SERVICE/PROCESS TO BE ISSUED: Citation
    TYPE OF SERVICE/PROCESS TO BE ISSUED:
    SERVICE BY:
         ATTORNEY PICK UP                            CONSTABLE
    XXX CIVIL PROCESS SERVER -Authorized Person to Pick-up: ________                                              Phone: ___       _
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         PUBLICATION:


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           Type of Publication:   _
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                                  NEWSPAPER OF YOUR CHOICE: _____         _
        _ OTHER, explain _________________________                                      _




        ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
        NAME: Robert D. Brown         TEXAS BAR NO./ID NO. 03164715
        MAILING ADDRESS: Donato, Minx, Brown & Pool, P.C., 3200 Southwest Freeway, Ste. 2300, Houston,
        TX 77027.
        PHONE NUMBER. 713- 877-1112                FAX NUMBER: 713-877-1138
        EMAIL ADDRESS: bbrown@donatorninxbrown,com




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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


     Certified Document Number:         88010559 Total Pages: 2




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                                      Marilyn Burgess - District Clerk Harris County
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                        2019-81520 I Court: 152                                                      By: Joshua Hall
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                               CAUSE NO. ------

 TEXAS PETROLEUM INVESTMENT                   §            IN THE DISTRICT COURT OF
 COMPANY                                      §
                                              §
                                              §
                                              §
 V.                                           §               HARRIS COUNTY, TEXAS
                                              §
 TANMAR RENTALS, LLC, TANMAR                  §
 COMPANIES, LLC and TANMAR                    §
 COMMUNICATIONS, LLC                          §
                                              §              JUDICIAL DISTRICT COURT

      TEXAS PETROLEUM INVESTMENT COMPANY'S ORIGINAL PETITION,
             REQUESTS FOR DISCLOSURE AND JURY DEMAND

      COMES      NOW,     Plaintiff   TEXAS   PETROLEUM       INVESTMENT          COMPANY

(hereinafter "TPIC") complaining of TANMAR RENTALS, LLC, TANMAR COMPANIES,

LLC and TANMAR COMMUNICATIONS, LLC (hereinafter, collectively, "TANMAR").

TPIC would show the Court as follows:

                                              I.
                                         PARTIES

       1.     Plaintiff Texas Petroleum Investment Company is incorporated under the

laws of the State of Texas and maintains its principal offices in Harris County, Texas.

      2.      Defendant TanMar Rentals, LLC is a foreign limited liability company that

maintains a place of business at 800 Brazos, Ste. 400, Austin, TX 78701-2538.                This

defendant may be served with Service of Process on its registered agent, Capital

Corporate Services, Inc., 206 E. 9th Street, Ste. 1300, Austin, TX 78701-4411.

      3.      Defendant TanMar Companies, LLC is a foreign limited liability company

that maintains a place of business at 302 Unatex Rd, Eunice, LA 70535 as well as at

multiple locations throughout Texas.      TanMar Companies, LLC regularly conducts
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business in the State of Texas but maintains no registered agent in Texas.             These

proceedings arise out of business done in the State of Texas by TanMar Rental

Companies, LLC. TanMar Companies, LLC may be sued through the Texas Secretary

of State pursuant to Tex. Civ. Prac. & Rem. Code§ 17.044(b).         The Secretary of State

is requested to serve TanMar Companies, LLC c/o its registered agent, Brian J. Tanner,

302 Unatex Rd, Eunice, LA 70535.

       4.     Defendant TanMar Communications,           LLC is a foreign limited liability

company that maintains a place of business at 302 Unatex Rd, Eunice, LA 70535 as well

as at multiple locations throughout Texas.        TanMar Communications, LLC regularly

conducts business in the State of Texas but maintains no registered agent in Texas.

These proceedings arise out of business done in the State of Texas by TanMar

Communications, LLC. TanMar Communications, LLC may be sued through the Texas

Secretary of State pursuant to Tex. Civ. Prac. & Rem. Code§ 17.044(b). The Secretary

of State is requested to serve TanMar Communications, LLC c/o its registered agent,

Brian J. Tanner, 302 Unatex Rd, Eunice, LA 70535.

                                          II.
                                JURISDICTION & VENUE

       5.     This Court has subject matter jurisdiction because Plaintiffs seek damages

in excess of the Court's minimum jurisdictional limits. All TANMAR entities sued herein

regularly conduct business in the State of Texas so that the exercise of general jurisdiction

over them is appropriate. Further, this lawsuit arises directly out of business conducted

by TANMAR within the State of Texas and the injured employee of TANMAR at issue in

this lawsuit was employed by TANMAR and working for TANMAR in Texas at the time of




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the accident giving rise to these proceedings. Thus, specific jurisdiction also exists over

these proceedings.

       6.     This lawsuit is brought against TANMAR as a result of TANMAR's breach

of contractual duties owed to TPIC to indemnify and protect it against a lawsuit on file

styled Ashton Ray Harp v. Big "6" Drilling Company et al, Cause No. 2019-52955 in the

234 th Judicial District Court of Harris County, Texas (hereinafter "Harp lawsuit"). TPIC

disputes and denies all allegations made against it in the Harp lawsuit. The Harp lawsuit

seeks monetary relief over $1,000,000. To that extent, more than $1,000,000 is in dispute

in this matter.

       7.     Venue is appropriate in Harris County, Texas as the Harp lawsuit at issue

in TPIC's indemnification demand is pending in Harris County, Texas. Consequently, all

or a substantial amount of the events relevant to this lawsuit occurred in Harris County,

Texas. TPIC further is domiciled in Harris County Texas.

                                          Ill.
                                DISCOVERY CONTROL PLAN

        8.        TPIC requests this case be conducted under a Level Ill discovery plan as

 set forth within Tex. R. Civ. P. 190.4.

                                              IV.
                                            FACTS

       9.         Ashton Ray Harp was working on at the Mattie Mercer # 1H well rig in

Caldwell County near Luling, TX when he was struck by a joint of falling drill pipe. The

accident occurred March 16, 2019. He suffered personal injury, the severity of which is

disputed. Harp subsequently filed a personal injury lawsuit styled Ashton Ray Harp v. Big

"6" Drilling Company et al, Cause No. 2019-52955 in the 234th Judicial District Court of



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Harris County, Texas. Harp sued TPIC and a drill contractor named Big "6" Drilling

Company alleging they are legally liable for his injuries. These allegations are disputed

and denied by TPIC.

       10.   At the time of the occurrence Harp was working as an employee of

TAN MAR and was present at the Mattie Mercer #1 H well subject to the terms and

conditions of a Master Services Agreement between TPIC and TANMAR dated

December 16, 2015 (hereinafter "TPIC/TANMAR MSA").             The TPCI/TANMAR MSA

contained various terms and conditions relevant to the Harp lawsuit and at issue in this

instant lawsuit, among them:


      7.     INDEMNITY

             7 .1   In order to allocate respective responsibilities of Company
                    and Contractor for liabilities arising out of personal injury or
                    property damage, it is agreed between Company and
                    Contractor that certain responsibilities and liabilities for
                    personal injuries and property damage arising out of the
                    performance of this Agreement should be allocated between
                    them in order to avoid protracted litigation between Company
                    and Contractor along with the associated legal expenses and
                    so that insurance or self-insurance may be arranged by each
                    party as necessary to protect them against exposure to loss.
                    The following sets out the specifics of the agreements
                    between Company and Contractor as to the allocation of the
                    responsibilities and liabilities.

             7.2    CONTRACTOR AGREES TO RELEASE, PROTECT,
                    DEFEND, INDEMNIFY AND HOLD HARMLESS COMPANY,
                    ITS OFFICERS, DIRECTORS, EMPLOYEES, JOINT
                    OWNERS, AND THEIR INVITEES, AND ANY CUSTOMER
                    FOR WHOM COMPANY IS PERFORMING SERVICES
                    (HEREINAFTER COLLECTIVELY REFERRED TO AS
                    "COMPANY GROUP") AND ALL OF COMPANY GROUP'S
                    INSURERS, FROM· AND AGAINST ALL CLAIMS,
                    DEMANDS, AND CAUSES OF ACTION OF EVERY KIND
                    AND CHARACTER WITHOUT LIMIT AND WITHOUT
                    REGARD TO THE CAUSE OR CAUSES THEREOF OR THE

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                  NEGLIGENCE, BREACH OF CONTRACT OR WARRANTY,
                  OR FAULT (ACTIVE OR PASSIVE) OF ANY PARTY OR
                  PARTIES    INCLUDING   THE    SOLE,   JOINT  OR
                  CONCURRENT      NEGLIGENCE,   INCLUDING   GROSS
                  NEGLIGENCE, OF COMPANY GROUP, ANY THEORY OF
                  STRICT LIABILITY OR STATUTORY LIABILITY AND
                  DEFECT OF PREMISES, OR THE UNSEAWORTHINESS
                  OF ANY VESSEL (WHETHER OR NOT PREEXISTING THE
                  DATE OF THIS CONTRACT), ARISING IN CONNECTION
                  HEREWITH      IN   FAVOR    OF      CONTRACTOR,
                  CONTRACTOR'S       EMPLOYEES,     CONTRACTOR'S
                  SUBCONTRACTORS      OR THEIR EMPLOYEES, OR
                  CONTRACTOR'S INVITEES ON ACCOUNT OF BODILY
                  INJURY, DEATH OR DAMAGE TO PROPERTY.

           7.3   COMPANY AGREES TO RELEASE, PROTECT, DEFEND,
                 INDEMNIFY AND HOLD HARMLESS CONTRACTOR, ITS
                 SUBCONTRACTORS,       AND     THEIR    OFFICERS,
                 DIRECTORS,     EMPLOYEES    OR THEIR     INVITEES
                 (HEREINAFTER REFERRED TO AS "CONTRACTOR
                 GROUP") AND ALL OF CONTRACTOR GROUP'S
                 INSURERS, FROM AND AGAINST ALL CLAIMS,
                 DEMANDS, AND CAUSES OF ACTION OF EVERY KIND
                 AND CHARACTER WITHOUT LIMIT AND WITHOUT
                 REGARD TO THE CAUSE OR CAUSES THEREOF OR THE
                 NEGLIGENCE, BREACH OF CONTRACT OR WARRANTY,
                 OR FAULT (ACTIVE OR PASSIVE) OF ANY PARTY OR
                 PARTIES    INCLUDING   THE    SOLE,   JOINT    OR
                 CONCURRENT      NEGLIGENCE,   INCLUDING    GROSS
                 NEGLIGENCE, OF CONTRACTOR GROUP, ANY THEORY
                 OF STRICT LIABILITY OR STATUTORY LIABILITY AND
                 DEFECT OF PREMISES, OR THE UNSEAWORTHINESS
                 OF ANY VESSEL (WHETHER OR NOT PREEXISTING THE
                 DATE OF THIS CONTRACT), ARISING IN CONNECTION
                 HEREWITH     IN FAVOR    OF COMPANY       GROUP,
                 COMPANY'S      SUBCONTRACTORS     (OTHER     THAN
                 CONTRACTOR HEREIN) OR THEIR EMPLOYEES, OR
                 COMPANY'S INVITEES ON ACCOUNT OF BODILY
                 INJURY, DEATH OR DAMAGE TO PROPERTY.

                                      * * *

     7.6   Both parties agree that, in order to be in compliance with the Texas
           Anti-Indemnity Act regarding indemnification mutually assumed for
           the other party's sole or concurrent negligence or fault, each party
           agrees to provide supporting insurance or qualified self-insurance of


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             the types set forth above and in the minimum amount of $10,000,000
             to support their respective indemnity obligations under this Contract.
             If it is judicially determined that the monetary limits of insurance
             required hereunder or of the indemnity voluntarily assumed under
             this Paragraph 7 exceeds the maximum limits permitted under
             applicable law, it is agreed that said insurance requirements or
             indemnity shall automatically be amended to conform to the
             maximum monetary limits permitted under such law.

       11.   The above language from the TPIC/TANMAR MSA obligated TANMAR to

indemnify, defend and protect TPIC from the Harp lawsuit and include TPIC as an

additional insured on its insurance. The above language required TANMAR to comply

with the Texas Oilfield Anti-Indemnity Act by procuring supporting insurance or qualified

self-insurance in the minimum amount of $10,000,000 to support its indemnity obligations.

Pursuant to the above language, TPIC placed TANMAR on notice of the potential for a

liability claim to arise from the Harp accident on July 2, 2019 and requested TANMAR

place its insurers on notice of TPIC's demand for additional insured benefits. TANMAR

did not respond. TPIC sent a second notice to TANMAR on August 6, 2019. Again

TANMAR did not respond. TPIC sent TANMAR a third notice on August 15, 2019.           By

this time suit had been filed and TPIC made a formal demand for indemnification and

defense against the Harp lawsuit and for a defense as an additional insured under

TANMAR's insurance policy. Again TANMAR did not respond.

       12.   TANMAR accordingly has breached the TPIC/TANMAR MSA by, and

pleading alternatively, refusing to provide TPIC indemnification and defense against the

Harp lawsuit, by not purchasing insurance that designed TPIC as an additional insured,

by not procuring insurance to comply with the Texas Oilfield Anti-Indemnity Act and/or

refusing submit TPIC's demand for additional insured status to TANMAR's liability

insurers.


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       13.    At the time of the accident giving rise to the lawsuit, Big "6" Drilling Company

was TPIC's drilling contractor at the Mattie Mercer #1 H well.        Pursuant to an IADC

Daywork Drilling Contract between Big "6" and TPIC, Big "6" made a demand against

TPIC for indemnification and defense against the Harp lawsuit. TPIC tendered said

demand to TANMAR with a request that TAMAR provide Big "6" indemnification and

defense against the Harp lawsuit as Big "6" is a member of the "Company Group" as that

term is defined within the TPIC/TANMAR MSA and/or the Big "6" claims against TPIC

arise from allegations of bodily injury to a member of the TAN MAR "Contractor Group" as

that term is defined under the TPIC/TAN MAR MSA. TAN MAR did not accept the tendered

demand.      TANMAR again breached the TPIC/TANMAR MSA in that it refused to

indemnify and protect TPIC against Big "6"'s demand for indemnification and defense

against the Harp lawsuit.

                                             V.
                                BREACH OF CONTRACT

       14.    Pursuant to Tex. R. Civ. P. 54, all conditions precedent for this lawsuit have

been performed or have occurred.

       15.    The TPIC/TANMAR MSAwas supported by consideration and is a valid and

enforceable contract.

       16.    TPIC performed under the terms of the TPIC/TANMAR MSA. TPIC made

demand against TANMAR for contractual indemnification and protection against the Harp

lawsuit under the TPIC/TANMAR MSA.            TPIC made demand against TANMAR for

additional insured status under the TPIC/TANMAR MSA.

       17.    TPIC made demand against TANMAR for indemnification and protection

against the Big "6'' demand for indemnification and protection against the Harp lawsuit.

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       18.      TANMAR was obligated to provide indemnification and defense against the

Harp lawsuit. TANMAR was obligated to procure supporting insurance or self-insurance

to comply with the Texas Oilfield Anti-Indemnity Act.

       19.      TANMAR was obligated to provide indemnification and defense against the

Big "6" demand for indemnification and protection against the Harp lawsuit.

       20.      TANMAR was obligated to obtain liability insurance that included TPIC as

an additional insured.

       21.      TANMAR breached the TPIC/TANMAR MSA by denying TPIC contractual

indemnification and protection against the Harp lawsuit.

       22.      TANMAR breached the TPIC/TANMAR MSA by denying TPIC contractual

indemnification and protection against the Big "6" demand for indemnification against the

Harp lawsuit.

       23.      TANMAR breached the TPIC/TANMAR MSA by not procuring supporting

insurance or qualified self-insurance in the minimum amount of $10,000,000. TANMAR

breached the TPIC/TANMAR MSA by failing to purchase liability insurance that identified

TPIC as an additional insured and/or refusing to submit TPIC's demand for additional

insured status to its liability insurer.

                                              VI.
                                           DAMAGES

       24.      TANMAR's breach of contract as set forth herein was a direct cause, cause

in fact, proximate cause and/or producing cause of damages to TPIC. TPIC sustained

foreseeable actual direct and/or consequential damages as a result of TANMAR's breach

of contract. All damages sustained by TPIC were within the contemplation of the parties

at the time of contracting.

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        25.      TPIC incurred attorney fees to defend and protect itself against the Harp

lawsuit, and will incur additional future attorney fees as the Harp lawsuit progresses. TPIC

incurred attorney fees to prosecute this breach of contract claim against TANMAR and

will incur additional future attorney fees to prosecute this breach of contract claim against

TANMAR. While TPIC disputes and denies any liabilities in the Harp lawsuit, TPIC seeks

indemnification from TANMAR in the remote event TPIC incurs liability for damages of

any nature to any person or entity whatsoever as a result of either the Harp lawsuit or the

Big "6" demand for indemnification and protection against the Harp lawsuit.

                                         VII.
                               REQUEST FOR DISCLOSURE

        26.      Pursuant to TEX. R. CIV. P. 194, Plaintiff hereby requests Defendant

named in this action to disclose, within 50 days of service of this request, the information

or material described in Rule 194.2(a)-(I).

                                          VIII.
                                      JURY DEMAND

        27.      Pursuant to TEX. R. CIV. P. 216, Plaintiff hereby respectfully demands a

trial by jury.

                                          PRAYER

        WHEREFORE,         PREMISES CONSIDERED,           Plaintiff TEXAS PETROLEUM

INVESTMENT COMPANY prays Defendants TANMAR RENTALS, LLC and TANMAR

COMPANIES, LLC be cited and caused to appear in these proceedings, that upon the

grounds set forth herein Plaintiff obtain judgment against the Defendants that it may have

and recover all relief as set forth herein, together with pre-judgment and post-judgment




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interest, court costs, and such other and further relief to which Plaintiff may show itself

justly entitled at law or in equity.



                                          Respectfully Submitted,

                                          DONATO, MINX, BROWN & POOL, P.C.




                                         Robert D. Brown
                                         SBN: 03164715
                                         bbrown@donatom inxbrown. com
                                         Mark A. Youngjohn
                                         SBN: 24028247
                                         myoungjohn@donatom inxbrown. com
                                         3200 Southwest Freeway, Ste. 2300
                                         Houston, TX 77027
                                         PHONE: (713) 877-1112
                                         FAX: (713) 877-1138

                                         ATTORNEYFORPLAINTIFF
                                         TEXASPETROLEUM
                                                      INVESTMENT
                                         COMPANY




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       Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 14 of 80

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                           DONATO,          MINX, BROWN                  & POOL, P.C.
                                            ATTORNEYS           AT LAW
                                    3200   SOUTHWEST     FREEWAY,  SUITE         2300
                                             HOUSTON,    TEXAS 77027
                                             WWW,DONATOMINXBROWN.COM


       ROBERT 0. BROWN                                                                  TELEPHONE:     (713) 877-1112
       DIRECT DIAL: (713) 871-1 165                                                       FACSIMILE:   (713) 877-1138
       EMAIL: BBROWN@DONATOMINXBROWN.COM


                                                 November 11, 2019

       Marilyn Burgess                                                                        Via E-File
       Harris County District Clerk
       201 Caroline
       Houston, TX 77002


       Re:       Texas Petroleum Investment Company v. TanMar Rentals, LLC, et al, Cause No. 2019-
                 81520 in the 152nd Judicial District Court of Harris County, Texas.


       Dear Clerk of Court:

                 Please let this correspondence serve as a cover letter for payment of the certified mail

       service fee for the above-referenced case.


                                                                    Sincerely,

                                                                    DONATO, MINX, BROWN & POOL, P.C.


                                                                ~~~.
                                                                    Robert D. Brown
       RDB/klc
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                                                        PRI.MEHUS
                                                        MEMBER


                                    INTERNATIONAL SOCIETY OF PRJMERUS LAW FIRMS
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


     Certified Document Number:                                                   88031878 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


     Certified Document Number:                                                        88131778 Total Pages: I




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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please e-mail support@hcdistrictclerk.com
Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 18 of 80



                           MARILYN BURGESS
                                 HARRIS COUNTY DISTRICT CLERK




                          - Civil Process Pick-Up Form

                           CAUSE NUMBER: 2019-81520

                                                    CIVX                                 COURT 152

                         REQUESTING ATTORNEY/FIRM NOTIFICATION

     *ATTORNEY: BROWN,ROBERTD                                                 PH: 713-871-1165

     *CIVIL PROCESS SERVER:

     *PH:                                                                    BOX:

     *PERSON NOTIFIED   svc READY: -----G--=a-=-+-y~/~e.,~_f(~--------
     * NOTIFIEDBY:JOSHUAHALL

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   Process papers prepared by:                            J. tlALL
   Date: 11/12/2019                                       30 days waiting                        12/12/2019


   *Process papers released to:
                                                             (PRINT NAME)


   *(CONTACT NUMBER)                        ~~JM             (GNATURE)

    *Process papers released by:




   * Date:   \\ 13 I                , 2019 Time:               C\!l.tl__p          /PM


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          Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 19 of 80




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


     Certified Document Number:         88077728 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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please e-mail support@hcdistrictclerk.com
Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 20 of 80


             1019                     01 YO                0000                        S~ I(
                                                           CAUSENO,        201981520

                                                           RECEIPT NO.                                          75.00              CTM
                                                                     **********                                 TR#       73695355
     .:--•   ""''""'•---------------------------------------------,-
             PLAINTIFF: TEXAS PETROLEUM
                                      INVESTMENTCOMPANY           In The                                  152nd
                            VB,                                                                 Judicial  District Court
              DEFENDANT:TANMARRENTALSLLC                                                        of Harris County, Texas
                                                                                                152ND DISTRICT COURT
                                                                                                Houston, TX
                                                          CITATION (CERTIFIED)
             THE STATE OF TEXAS
             County of Harris


             TO: TANMARRENTALSLLC (A FOREIGN LIMITED LIABILITY COMPANY)MAYBE SER
                 WITH PROCESS BY SERVING ITS REGISTEREDAGENTCAPITAL CORPORATESERV.CES INC

                   206       E 9TH STREET STE 1300    AUSTIN TX 78701 - 4411
                   Attached       is a copy of ORIGINAL PETITION RE UEST FOR DISCLOSU               AND JURY DEMAND


              This instrument   was filed     on the 8th day of November, 2019, in the above cited                  cause       number
              and court.   The instrument     attached  describes the claim ag inst you.

                    YOUHAVEBEEN SUED, You may employ an attorney,                            your attorney do not file a
             written   answer with the District    Clerk who issued th's citation             by 10:00 a.m on the Monday
             next following    the expiration   of 20 days after  you ere served             this citation and petition,
             a default   judgment may be taken against    you.
             TO OFFICER SERVING:
                   This citation was issued          on 12th day o    November,    2019,    under    my hand and
             seal of said Court.




             Issued at request   of:                                               MARILYNBURGESS, District   Clerk
             BROWN,ROBERTD.                                                        Harris County, Texas
             3200 SOUTHWEST    FWYSUITE 2300                                       201 Caroline,  Houston, Texas 77002
             HOUSTON,TX 77027                                                      (P.O. Box 4651, Houston, Texas 77210)
             Tel: (713) 871-1165
             ~:        3164715                                       Generated     By: HALL, JOSHUA EVERETT GLH//11377393

                                                         CLERK'S RETURNBY MAILING
             Came to hand the            day of~---------------'                           ___            , and executed by
             mailing to Defendant c rtified    mail, return receipt    requested,    restricted            delivery,  a true
             copy    of   this    c tation       together        with an    attached       copy            of
              ORIGINAL PETITION    QUEST FOR DISCLOSUREAND JURY DEMAND
             to the following  a


                                                                 ADDRESS

                                                                 Service was executed in accordance    with Rule 106
                                                                     (2) TRCP, upon the Defendant as evidenced by the
                                                                      return receipt  incorporated herein and attached
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                                                                 on            day of
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Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 21 of 80

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                                                        CAUSENO.         201981520

                                                        RECEIPT NO.                                                75.00      CTM
                                                               **********                                          TR# 73695355
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          PLAINTIFF: TEXAS PETROLEUMINVESTMENTCOMPANY                                                In The    152nd
                  vs.                                                                                Judicial  District Court
          DEFENDANT:TANMAR  RENTALSLLC                                                               of Harris County, Texas
                                                                                                     152ND DISTRICT COURT
                                                                                                     Houston, TX
                                                      CITATION (CERTIFIED)
          THE STATE OF TEXAS
          County of Harris


          TO: TANMAR RENTALSLLC (A FOREIGN LIMITED LIABILITY COMPANY)MAYBE SERVED
              WITH PROCESSBY SERVING ITS REGISTEREDAGENTCAPITAL CORPORATESERVICES INC

                206      E 9TH STREET STE 1300    AUSTIN TX 78701 - 4411
               Attached      is a copy of ORIGINAL PETITION REQUESTFOR DISCLOSUREAND JURY DEMAND


          This inst~ument  was filed      on the 8th day of November, 2019, in the above cited                         cause    number
          and court.  The instrument      attached  describes the claim against you.

                 YOU HAVEBEEN SUED, You may employ an attorney.      If you or your attorney do not file a
          written   answer with the District    Clerk who issued this citation  by 10:00 a.m on the Monday
          next following   the expiration    of 20 days after you were served this citation  and petition,
          a default   judgment may be taken against    you.
          TO OFFICER SERVING:
                This citation was issued         on 12th day of November, 2019, under                  my hand and
          seal of said Court.




          Issued at request of:                                                           MARILYNBURGESS, District   Clerk
          BROWN,ROBERTD.                                                                  Harris County, Texas
          3200 SOUTHWEST   FWYSUITE 2300                                                  201 Caroline,  Houston, Texas 77002
          HOUSTON,TX 77027                                                                (P.O. Box 4651, Houston, Texas 77210)
          Tel: (713) 871-1165
          Bar No.:  3164715                                     Generated                 By: HALL, JOSHUAEVERETT GLH//11377393


                                                   CLERK'S RETURNBY MAILING
          Came to hand the             day of ________________                                                 , and executed by
          mailing to Defendant certified     mail, return receipt  requested,    restricted                     delivery,  a true
          copy    of   this     citation      together     with   an    attached       copy                     of
           ORIGINAL PETITION REQUESTFOR DISCLOSUREAND JURY DEMAND
          to the following  addressee    at address:


                                                             ADDRESS

                                                              Service was executed in accordance    with Rule 106
          (a)ADDRESSEE                                            (2) TRCP, upon the Defendant as evidenced by the
                                                                   return receipt  incorporated herein and attached
                                                                   hereto at

                                                              on        day of ___________                                 _
                                                              by U.S. Postal delivery  to ___________                                     _


                                                              This citation                 was not executed     for   the following
                                                              reason:


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 on
                                                              MARILYNBURGESS, District                   Clerk
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


     Certified Document Number:                                                                                              88069591 Total Pages: 2




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                      Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 23 of 80




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          Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 24 of 80




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                Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 25 of 80


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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


     Certified Document Number:                                                       88688334 Total Pages: 2




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     HARRIS COUNTY, TEXAS




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                 Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 26 of 80
                                                                                                                         1/27/2020 3:30:05 PM
                                                                                                                         Marilyn Burgess - District Clerk
                                                                                                                         Harris County
                                     Marilyn Burgess                                                                     Envelope No: 40310427
                                                                                                                         By: SOLIS, ADILIANI A
                                                                                                                         Filed: 1/27/2020 3:30:05 PM
                                     HARRIS COUNTY DISTRICT CLERK
                                     201 Caroline   I P.O. Box 4651 I Houston , Texas 77210 -4651 I 832-927 - 5800 I www. hcdistri ctcl erk.com

                                                             Request for Issuance of Service
         CASE NUMBER:      2019-81520                                                      152nd
                                                                         CURRENT COURT: -'-=~--'-'-------------

         Name(s) of Documents to be served:   Plaintiff's First Amended Petition
         FILE DATE: _________             Month/Day/Year
         SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be
         Served):
         Issue Service to: Zurich American Insurance Company, 1299 Zurich Way, Schaumburg, IL 60296-10!
         Address of Service: 211 E. 7th Street, Ste 620, Austin, TX 78701-3218
         City, State & Zip: ___________________________                                                                                       ___   _
         Agent (if applicable) Corporate Service Company
         TYPE OF SERVICE/PROCESS TO BE ISSUED : (Check the proper Box)
         D    Citation      D    Citation by Posting            D            Citation by Publication               D    Citations Rule 106 Service
         D Citation Scire Facias                                             Newspaper _____                 _
         D Temporary Restraining Order          D                        Precept                                   D    Notice
         D Protective Order
         D Secretary of State Citation ($12.00) D                        Capias (not an E-Issuance)               D      Attachment
         D Certiorari                           D                            Highway Commission ($12.00)
         D Commissioner oflnsurance ($12.00) D                         Hague Convention ($16.00)                    D    Garnishment
         D Habeas Corpus                        D                      Injunction                                   D    Sequestration
         D Subpoena
         D Other     (Please Describe) ______________                                                    _
         (See additional Forms for Post Judgment Service)
<+-<         SERVICE BY (check one):
~        0   ATTORNEY PICK-UP (phone) ________                                                  0  E-Issuance by District Clerk
~        D   MAIL to attorney at: ________                                                        (No Service Copy Fees Charged)
P;-      D   CONSTABLE                                                           Note: The email registered with EfileTexas.gov must be
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         0   CERTIFIED MAIL by District Clerk                                    used to retrieve the E-lssuance Service Documents.
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              Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 27 of 80


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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


     Certified Document Number:                                                                   89115726 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                 Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 28 of 80
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                                    Marilyn Burgess                                                                  Envelope No: 40310427
                                                                                                                     By: SOLIS, ADILIANI A
                                                                                                                     Filed: 1/27/2020 3:30:05 PM
                                    HARRIS COUNTY DISTRICT CLERK
                                    201 Caroline   I P.O. Box 4651 I Houston, Texas 77210-4651 I 832-927-5800 I www. hcdist rictcle rk.com

                                                           Request for Issuance of Service
        CASE NUMBER:       2019-81520                                                    152nd
                                                                       CURRENT COURT: --------------

        Name(s) of Documents to be served:   Plaintiff's First Amended Petition
        FILE DATE: _________             Month/Day/Year
        SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be
        Served):
        Issue Service to : TanMar Communications, LLC, 302 Unatex Rd, Eunice, LA 70535 c/o Brian J. Tanr
        Address of Service: 1019 Brazos St austin TX 78701
        City, State & Zip:________________________                                                                           ______                 _
        Agent (if applicable) ~S~e~c~re
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        TYPE OF SERVICE/PROCESS TO BE ISSUED : (Check the proper Box)
        D    Citation       D    Citation by Posting           D      Citation by Publication                  D     Citations Rule 106 Service
        D Citation Scire Facias                                       Newspaper _____                    _
        D Temporary Restraining Order          D Precept                    D Notice
        D Protective Order
        D Secretary of State Citation ($12.00) D Capias (not an E-Issuance) D Attachment
        D Certiorari                           D Highway Commission ($12.00)
        D Commissioner of Insurance ($12.00) D Hague Convention ($16.00) D Garnishment
        D Habeas Corpus                        D Injunction                 D Sequestration
        D Subpoena
        D Other (Please Describe) ______________                     _
        (See additional Forms for Post Judgment Service)
:;:::       SERVICE BY (check one):
..:'.0 ATTORNEY PICK-UP (phone) ________                                                      0
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~ 0 MAIL to attorney at: 3200 SW Fwy, Ste                                2~                  (No Service Copy Fees Charged)
P; D CONSTABLE                                                              Note : The email registered with EfileTexas.gov must be
~ D CERTIFIED MAIL by District Clerk
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          Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 29 of 80




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


     Certified Document Number:         89115725 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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please e-mail support@hcdistrictclerk.com
                Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 30 of 80
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                                                                                                                       Harris County
                                   Marilyn Burgess                                                                     Envelope No: 40310427
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                                                           Request for Issuance of Service
        CASE NUMBER:      2019-81520                                                       152nd
                                                                           CURRENT COURT: --------------

        Name(s) ofDocuments to be served:   Plaintiff'sFirst Amended Petition

        FILE DATE: _________             Month/Day/Year
        SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be
        Served):
        Issue Service to: TanMar Companies, LLC, 302 Unatex Rd, Eunice, LA 70535 c/o Brian J. Tanner, R
        Address of Service:      1019 Brazos St austin TX 78701
        City, State & Zip :___________________                                                              ____           __      _____            _
        Agent (if applicable) _S_e_c_re_t_a~ry
                                            ~o_f_S_t_a_te_______                        ____              _ __         _ _____                 __   _
        TYPE OF SERVICE/PROCESS TO BE ISSUED : (Check the proper Bo x)
        D    Citation      D    Citation by Posting           D      Citation by Publication                    D      Citations Rule 106 Service
        D Citation Scire Facias                                       Newspaper _____                       _
        D Temporary Restraining Order          D                     Precept                                    D      Notice
        D Protective Order
        D Secretary of State Citation ($12.00) D                     Capias (not an E-Issuance)                 D      Attachment
        D Certiorari                           D                     Highway Commission ($12.00)
        D Commissioner of Insurance ($12.00) D                      Hague Convention ($16.00)                      D   Garnishment
        D Habeas Corpus                        D                   Injunction                                      D   Sequestration
        D Subpoena
        D Other     (Please Describe) ______________                                                _
        (See additional Forms for Post Judgment Service)
;:          SERVICE BY (check one):
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        0   ATTORNEY PICK-UP (phone) ________                      0 E-Issuance by District Clerk
 ~      0   MAIL to attorney at: 3200 SW Fwy, Ste 2:                  (No Service Copy Fees Charged)
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        D   CERTIFIED MAIL by District Clerk         used to retrieve the E-lssuance Service Documents .
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 B Issuance of Service Requested By: Attorney/Party Name:                             Robert D . Brown                 Bar# or ID        03164715
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        Mailing Address: 3200 Southwest Freeway, Ste 2300, Haus
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          Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 31 of 80




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


     Certified Document Number:         89115724 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
                 Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 32 of 80
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                                                              Request for Issuance of Service
         CASE NUNIBER: 2019-81520                                                                 152nd
                                                                                    CURRENTCOURT: ~~~-----------

         Name (s) ofDocuments to be served:      Plaintiff'sFirst Amended Petition

         FILE DATE: _________             Month/Day/Year
         SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be
         Served):
         Issue Service to: TanMar Rentals, LLC, 800 Brazos, Ste 400, Austin, TX 78701-2538
         Address of Service: 206 E. 9th St Ste 1300 Austin TX 78701-4411
         City, State & Zip: _______________________________                                                                                       _
         Agent (if applicable) Capital Corporate Services, Inc.
         TYPE OF SERVICE/PROCESS TO BE ISSUED : (Check the proper Box)
         D Citation D Citation by Posting D                                     Citation by Publication            D     Citations Rule 106 Service
         D Citation Scire Facias                                                Newspaper _____              _
         D Temporary Restraining Order             D                            Precept                            D     Notice
         D Protective Order
         D Secretary of State Citation ($12.00) D                               Capias (not an E-Issuance)         D     Attachment
         D Certiorari                              D                            Highway Commission ($12.00)
         D Commissioner oflnsurance ($12.00) D                                 Hague Convention ($16.00)            D     Garnishment
         D Habeas Corpus                           D                           Injunction                           D     Sequestration
         D Subpoena
         D Other (Please Describe) ---------------
         (See additional Forms for Post Judgment Service)
:;::::       SERVICE BY (check one):
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    0 ATTORNEY PICK-UP (phone) ________                                                           0  E-Issuance by District Clerk
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 i3 Issuance of Service Requested By: Attorney/Party Name : Robert D. Brown                                              Bar# or ID 03164715
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              Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 33 of 80

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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


     Certified Document Number:                                       89115723 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
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                                                  CAUSE NO.2019-81520

                 TEXAS PETROLEUM INVESTMENT                   §            IN THE DISTRICT COURT OF
                 COMPANY                                      §
                                                              §
                                                              §
                                                              §
                 V.                                           §                HARRIS COUNTY, TEXAS
                                                              §
                 TANMAR RENTALS, LLC, TANMAR                  §
                 COMPANIES, LLC and TANMAR                    §
                 COMMUNICATIONS, LLC                          §
                                                              §         152nd JUDICIAL DISTRICT COURT

                       TEXAS PETROLEUM INVESTMENT COMPANY'S FIRST AMENDED PETITION,
                                 REQUESTS FOR DISCLOSURE AND JURY DEMAND

                          COMES   NOW,    Plaintiff   TEXAS   PETROLEUM       INVESTMENT            COMPANY

                 (hereinafter "TPIC") complaining of TANMAR RENTALS, LLC, TANMAR COMPANIES,

                 LLC and TANMAR COMMUNICATIONS, LLC (hereinafter, collectively, "TANMAR"), and

                 ZURICH AMERICAN INSURANCE COMPANY ("ZURICH)(said defendants hereinafter,

                 collectively, "DEFENDANTS"). TPIC would show the Court as follows:

                                                              I.
                                                         PARTIES

                          1.   Plaintiff Texas Petroleum Investment Company is incorporated under the

                 laws of the State of Texas and maintains its principal offices in Harris County, Texas.

                          2.   Defendant Tan Mar Rentals, LLC is a foreign limited liability company that

                 maintains a place of business at 800 Brazos, Ste. 400, Austin, TX 78701-2538.                 This

                 defendant may be served with Service of Process on its registered agent, Capital

                 Corporate Services, Inc., 206 E. 9th Street, Ste. 1300, Austin, TX 78701-4411.

                          3.   Defendant TanMar Companies, LLC is a foreign limited liability company

                 that maintains a place of business at 302 Unatex Rd, Eunice, LA 70535 as well as at
            Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 35 of 80
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                 multiple locations throughout Texas.    TanMar Companies, LLC regularly conducts

                 business in the State of Texas but maintains no registered agent in Texas.       These

                 proceedings arise out of business done in the State of Texas by TanMar Rental

                 Companies, LLC. TanMar Companies, LLC may be sued through the Texas Secretary

                 of State pursuant to Tex. Civ. Prac. & Rem. Code§ 17.044(b).     The Secretary of State

                 is requested to serve TanMar Companies, LLC c/o its registered agent, Brian J. Tanner,

                 302 Unatex Rd, Eunice, LA 70535.

                       4.     Defendant TanMar Communications, LLC is a foreign limited liability

                 company that maintains a place of business at 302 Unatex Rd, Eunice, LA 70535 as well

                 as at multiple locations throughout Texas.       TanMar Communications, LLC regularly

                 conducts business in the State of Texas but maintains no registered agent in Texas.

                 These proceedings arise out of business done in the State of Texas by TanMar

                 Communications, LLC. TanMar Communications, LLC may be sued through the Texas

                 Secretary of State pursuant to Tex. Civ. Prac. & Rem. Code§ 17.044(b). The Secretary

                 of State is requested to serve TanMar Communications, LLC c/o its registered agent,

                 Brian J. Tanner, 302 Unatex Rd, Eunice, LA 70535.

                       5.     Defendant Zurich American Insurance Company ("Zurich") is a foreign

                 corporation incorporated under the laws of the State of New York. Zurich is domiciled at

                 1299 Zurich Way, Schaumburg, IL 60296-1056. Zurich may be served via its registered

                 agent, Corporate Service Company, 211 E. 7th Street, Ste. 620, Austin, Texas 78701-

                 3218. Alternatively, pursuant to Tex. Ins. Code § 804.106(b) Zurich may be served via

                 the Texas Insurance Commissioner.

                                                            II.
                                               JURISDICTION & VENUE


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                        6.     This Court has subject matter jurisdiction because Plaintiffs seek damages

                 in excess of the Court's minimum jurisdictional limits. All DEFENDANTS sued herein

                 regularly conduct business in the State of Texas so that the exercise of general jurisdiction

                 over them is appropriate. Further, this lawsuit arises directly out of business conducted

                 by DEFENDANTS within the State of Texas. Thus, specific jurisdiction also exists over

                 these proceedings.

                        7.     This lawsuit is brought against TANMAR as a result of TANMAR's breach

                 of contractual duties owed to TPIC to indemnify and protect it against a lawsuit on file

                 styled Ashton Ray Harp v. Big "6" Drilling Company et al, Cause No. 2019-52955 in the

                 234th Judicial District Court of Harris County, Texas (hereinafter "Harp lawsuit").

                        8.     This lawsuit is brought against ZURICH as a result of ZURICH's breach of

                 contractual duties owed to TPIC to indemnify and protect it against a lawsuit on file styled

                 Ashton Ray Harp v_ Big "6" Drilling Company et al, Cause No. 2019-52955 in the 234th

                 Judicial District Court of Harris County, Texas {hereinafter "Harp lawsuit").

                        9.     Venue is appropriate in Harris County, Texas as the Harp lawsuit at issue

                 in TPIC's indemnification demand is pending in Harris County, Texas. Consequently, all

                 or a substantial amount of the events relevant to this lawsuit occurred in Harris County,

                 Texas. TPIC further is domiciled in Harris County Texas.

                        10.     TPIC disputes and denies all allegations made against it in the Harp

                 lawsuit. The Harp lawsuit seeks monetary relief over $1,000,000. To that extent, more

                 than $1,000,000 is in dispute in this matter.

                                                        Ill.
                                              DISCOVERY CONTROL PLAN



                                                                 3
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                         11.   TPIC requests this case be conducted under a Level Ill discovery plan as

                 set forth within Tex. R. Civ. P. 190.4.

                                                             IV.
                                                           FACTS

                        12.    Ashton Ray Harp was working on at the Mattie Mercer # 1H well rig in

                 Caldwell County near Luling, TX when he was struck by a joint of falling drill pipe. The

                 accident occurred on or about March 16, 2019. He suffered an alleged personal injury,

                 the severity of which is disputed. Harp subsequently filed a personal injury lawsuit styled

                 Ashton Ray Harp v. Big "6" Drilling Company et al, Cause No. 2019-52955 in the 234th

                 Judicial District Court of Harris County, Texas. Harp sued TPIC and a drill contractor

                 named Big "6'' Drilling Company alleging they are legally liable for his injuries. These

                 allegations are disputed and denied by TPIC.

                        13.    At the time of the occurrence Harp was working as an employee of

                 TAN MAR and was present at the Mattie Mercer #1 H well subject to the terms and

                 conditions of a Master Services Agreement between TPIC and TANMAR dated

                 December 16, 2015 (hereinafter "TPIC/TANMAR MSA").             The TPIC/TANMAR MSA

                 contained various terms and conditions relevant to the Harp lawsuit and at issue in this

                 instant lawsuit, among them:

                        6.     INSURANCE

                                                           * * *

                               6.3   All such insurance shall be carried in a company or companies
                                     authorized to transact business in the state in which the work
                                     is to be performed, acceptable to Company and shall be
                                     maintained in full force and effect during the tenn of this
                                     Contract, and shall not be cancelled, altered, or amended
                                     without thirty (30) days' prior written notice having first been
                                     furnished Company. Additionally, only for and to the extent


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                             Contractor assumes liability hereunder and agrees to
                             indemnify Company, Company shall be named an additional
                             insured in all such insurance policies (with exception of
                             Workers' Compensation coverage) with all such insurance
                             being primary to any insurance of Company that may apply to
                             any such occurrence, accident or claim, but only for and to the
                             extent Contractor assumes liability and agrees to indemnify
                             Company hereunder. No "other insurance" provision shall be
                             applicable to Company and its affiliated, subsidiary and/or
                             interrelated companies, by virtue of having been named an
                             additional insured or loss payee under any policy of insurance.
                             Contractor agrees to have its insurance carrier furnish
                             Company a certificate or certificates evidencing coverage in
                             accordance with the above requirements and, when requested
                             by Company, to furnish certified copies of all said insurance
                             policies. These requirements shall be conditions precedent to
                             the payment of any sums that may be due Contractor
                             hereunder. The parties agree that the additional insured status
                             and waivers of subrogation which Contractor obtains for
                             Company shall not protect or offer coverage to Company for
                             the indemnity obligations or liabilities specifically allocated to
                             Company in this Agreement or any other agreement, or for
                             liabilities not addressed herein. The parties further agree that
                             any coverage which Company obtains in favor of Contractor
                             shall not protect or offer coverage to Contractor for the
                             indemnity obligations or liabilities specifically allocated to
                             Contractor in this Agreement or any other agreement or for
                             liabilities not addressed herein. Contractor and Company
                             agree that any insurance coverage which each obtains for the
                             other does not prime, supersede or take precedence over the
                             indemnity obligations which each owes to the other.

                                                   * * *




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                       7.   INDEMNITY

                            7 .1   In order to allocate respective responsibilities of Company
                                   and Contractor for liabilities arising out of personal injury or
                                   property damage, it is agreed between Company and
                                   Contractor that certain responsibilities and liabilities for
                                   personal injuries and property damage arising out of the
                                   performance of this Agreement should be allocated between
                                   them in order to avoid protracted litigation between Company
                                   and Contractor along with the associated legal expenses and
                                   so that insurance or self-insurance may be arranged by each
                                   party as necessary to protect them against exposure to loss.
                                   The following sets out the speciiics of the agreements
                                   between Company and Contractor as to the allocation of the
                                   responsibilities and liabilities.

                            7.2    CONTRACTOR AGREES TO RELEASE, PROTECT,
                                   DEFEND, INDEMNIFY AND HOLD HARMLESS COMPANY,
                                   ITS OFFICERS, DIRECTORS, EMPLOYEES, JOINT
                                   OWNERS, AND THEIR INVITEES, AND ANY CUSTOMER
                                   FOR WHOM COMPANY IS PERFORMING SERVICES
                                   (HEREINAFTER COLLECTIVELY REFERRED TO AS
                                   "COMPANY GROUP") AND ALL OF COMPANY GROUP'S
                                   INSURERS, FROM· AND AGAINST ALL CLAIMS,
                                   DEMANDS, AND CAUSES OF ACTION OF EVERY KIND
                                   AND CHARACTER WITHOUT LIMIT AND WITHOUT
                                   REGARD TO THE CAUSE OR CAUSES THEREOF OR THE
                                   NEGLIGENCE, BREACH OF CONTRACT OR WARRANTY,
                                   OR FAULT (ACTIVE OR PASSIVE) OF ANY PARTY OR
                                   PARTIES    INCLUDING   THE   SOLE,    JOINT  OR
                                   CONCURRENT      NEGLIGENCE,   INCLUDING   GROSS
                                   NEGLIGENCE, OF COMPANY GROUP, ANY THEORY OF
                                   STRICT LIABILITY OR STATUTORY LIABILITY AND
                                   DEFECT OF PREMISES, OR THE UNSEAWORTHINESS
                                   OF ANY VESSEL (WHETHER OR NOT PREEXISTING THE
                                   DATE OF THIS CONTRACT), ARISING IN CONNECTION
                                   HEREWITH      IN   FAVOR    OF     CONTRACTOR,
                                   CONTRACTOR'S       EMPLOYEES,     CONTRACTOR'S
                                   SUBCONTRACTORS      OR THEIR EMPLOYEES, OR
                                   CONTRACTOR'S INVITEES ON ACCOUNT OF BODILY
                                   INJURY, DEATH OR DAMAGE TO PROPERTY.

                            7.3    COMPANY AGREES TO RELEASE, PROTECT, DEFEND,
                                   INDEMNIFY AND HOLD HARMLESS CONTRACTOR, ITS
                                   SUBCONTRACTORS,     AND   THEIR   OFFICERS,
                                   DIRECTORS,  EMPLOYEES   OR THEIR    INVITEES


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                                      (HEREINAFTER REFERRED TO AS "CONTRACTOR
                                      GROUP") AND ALL OF CONTRACTOR GROUP'S
                                      INSURERS, FROM AND AGAINST ALL CLAIMS,
                                      DEMANDS, AND CAUSES OF ACTION OF EVERY KIND
                                      AND CHARACTER WITHOUT LIMIT AND WITHOUT
                                      REGARD TO THE CAUSE OR CAUSES THEREOF OR THE
                                      NEGLIGENCE, BREACH OF CONTRACT OR WARRANTY,
                                      OR FAULT (ACTIVE OR PASSIVE) OF ANY PARTY OR
                                      PARTIES   INCLUDING   THE   SOLE,   JOINT   OR
                                      CONCURRENT     NEGLIGENCE, INCLUDING GROSS
                                      NEGLIGENCE, OF CONTRACTOR GROUP, ANY THEORY
                                      OF STRICT LIABILITY OR STATUTORY LIABILITY AND
                                      DEFECT OF PREMISES, OR THE UNSEAWORTHINESS
                                      OF ANY VESSEL (WHETHER OR NOT PREEXISTING THE
                                      DATE OF THIS CONTRACT), ARISING IN CONNECTION
                                      HEREWITH    IN FAVOR OF COMPANY         GROUP,
                                      COMPANY'S     SUBCONTRACTORS    (OTHER    THAN
                                      CONTRACTOR HEREIN) OR THEIR EMPLOYEES, OR
                                      COMPANY'S INVITEES ON ACCOUNT OF BODILY
                                      INJURY, DEATH OR DAMAGE TO PROPERTY.

                                                           * * *

                               7.6    Both parties agree that, in order to be in compliance with the
                                      Texas Anti-Indemnity Act regarding indemnification mutually
                                      assumed for the other party's sole or concurrent negligence
                                      or fault, each party agrees to provide supporting insurance or
                                      qualified self-insurance of the types set forth above and in the
                                      minimum amount of $10,000,000 to support their respective
                                      indemnity obligations under this Contract. If it is judicially
                                      determined that the monetary limits of insurance required
                                      hereunder or of the indemnity voluntarily assumed under this
                                      Paragraph 7 exceeds the maximum limits permitted under
                                      applicable law, it is agreed that said insurance requirements
                                      or indemnity shall automatically be amended to conform to the
                                      maximum monetary limits permitted under such law.

                        14.    The above language from the TPIC/TANMAR MSA obligates TANMAR to

                 indemnify, defend and protect TPIC from the Harp lawsuit and include TPIC as an

                 additional insured on its insurance. The above language from the TPIC/TANMAR MSA

                 also obligates TANMAR to indemnify, defend and protect TPIC from demands from Big

                 "6" that TPCI indemnify, defend and protect Big "6" from any liability arising from the Harp


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                 lawsuit. The above language requires TANMAR to comply with the Texas Oilfield Anti-

                 Indemnity Act by procuring supporting insurance or qualified self-insurance in the

                 minimum amount of $10,000,000 to support its indemnity obligations. Pursuant to the

                 above language, TPIC placed TAN MAR on notice of the potential for a liability claim to

                 arise from the Harp accident on July 2, 2019 and requested TANMAR place its insurers

                 on notice of TPIC's demand for additional insured benefits. TANMAR did not respond.

                 TPIC sent a second notice to TANMAR on August 6, 2019. TANMAR did not respond.

                 TPIC sent TANMAR a third notice on August 15, 2019.        By this time suit had been filed

                 and TPIC made a formal demand for indemnification and defense against the Harp

                 lawsuit and for a defense as an additional insured under TANMAR's insurance policy.

                 Again, TAN MAR did not respond.

                        15.   TANMAR accordingly has breached the TPIC/TANMAR MSA by, and

                 pleading alternatively, refusing to provide TPIC indemnification and defense against the

                 Harp lawsuit, by not purchasing insurance that designed TPIC as an additional insured,

                 by not procuring insurance to comply with the Texas Oilfield Anti-Indemnity Act and/or

                 refusing submit TPIC's demand for additional insured status to TANMAR's liability

                 insurers.

                        16.   Alternatively, TPIC is an additional insured under Zurich American

                 Insurance Company Policy No. GLO-9172334-06, effective dates February 15, 2019 to

                 February 15, 2020 ("Policy").     ZURICH has breached both contractual and extra-

                 contractual duties owed to TPIC by failing to indemnify, defend and protect TPIC against

                 the Harp lawsuit. TPIC through TANMAR and Arthur J. Gallagher Risk Management

                 Services, Inc. (TANMAR's retail insurance agent) has duly for,,,vardedcopies of the current



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                 pleadings in the Harp lawsuit to ZURICH and made demand to ZURICH for indemnity

                 and defense against the Hatp lawsuit. ZURICH has not responded.             TPIC has further

                 made demand against ZURICH for coverage for the Big "6" contractual liability claims

                 under the ZURICH Policy's "insured contract" exception within the ZURICH Policy's

                 general exclusion for contractual liabilities. ZURICH has not responded.        In so doing it

                 has breached the Policy.

                        17.    At the time of the accident giving rise to the lawsuit, Big "6" Drilling Company

                 was TPIC's drilling contractor at the Mattie Mercer #1 H well.        Pursuant to an IADC

                 Daywork Drilling Contract between Big "6'' and TPIC, Big "6" made a demand against

                 TPIC for indemnification and defense against the Harp lawsuit.          TPIC tendered said

                 demand to TANMAR with a request that TANMAR provide Big "6" indemnification and

                 defense against the Harp lawsuit as Big "6" is a member of the "Company Group" as that

                 term is defined within the TPIC/TANMAR MSA and/or the Big "6" claims against TPIC

                 arise from allegations of bodily injury to a member of the TANMAR "Contractor Group" as

                 that term is defined under the TPIC/T AN MAR MSA. TAN MAR did not accept the tendered

                 demand.      TANMAR again breached the TPIC/TANMAR               MSA in that it refused to

                 indemnify and protect TPIC against Big "6'"s demand for indemnification and defense

                 against the Harp lawsuit.

                                                              V.
                                                CONDITIONS PRECEDENT

                        18.    Pursuant to Tex. R. Civ. P. 54, all conditions precedent to TPIC's rights to

                 recover damages as a result of these proceedings have been performed or have

                 occurred.

                                                              VI.


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                                             TANMAR'S BREACH OF CONTRACT

                          19.      The TPIC/TANMAR MSA was supported by consideration and is a valid and

                   enforceable contract.

                          20.      TPIC performed under the terms of the TPIC/TANMAR MSA. TPIC made

                   demand against TAN MAR for contractual indemnification and protection against the Harp

                   lawsuit under the TPIC/TANMAR MSA.            TPIC made demand against TANMAR for

                   additional insured status under the TPIC/TANMAR MSA.

                          21.      TPIC made demand against TANMAR for indemnification and protection

                   against the Big "6'' demand for indemnification and protection against the Harp lawsuit.

                          22.      TANMAR is obligated to provide indemnification and defense against the

                   Harp lawsuit. TANMAR is obligated to procure supporting insurance or self-insurance to

                   comply with the Texas Oilfield Anti-Indemnity Act.

                          23.      TANMAR is obligated to provide indemnification and defense against the

                   Big "6" demand for indemnification and protection against the Harp lawsuit.

                          24.      TAN MAR is obligated to obtain liability insurance that included TPIC as an

                   additional insured.

                          25.      TANMAR breached the TPIC/TANMAR MSA by denying TPIC contractual

                   indemnification and protection against the Harp lawsuit.

                          26.      TANMAR breached the TPIC/TANMAR MSA by denying TPIC contractual

                   indemnification and protection against the Big "6" demand for indemnification against the

                   Harp lawsuit.

                          27.      TANMAR breached the TPIC/TANMAR MSA by not procuring supporting

                   insurance or qualified self-insurance in the minimum amount of $10,000,000. TAN MAR



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                   breached the TPIC/TANMAR MSA by failing to purchase liability insurance that identified

                   TPIC as an additional insured and/or refusing to submit TPIC's demand for additional

                   insured status to its liability insurer.

                                                            VII.
                                               ZURICH'S BREACH OF CONTRACT

                          28.     Alternatively, without waiver of the foregoing, TPIC through TANMAR and

                   Arthur J. Gallagher Risk Management Services (TANMAR's retail insurance agent)

                   provided ZURICH copies of the pleadings in the Harp lawsuit and demanded ZURICH

                   provide TPIC indemnification and defense against the Harp lawsuit. The pleadings in the

                   Harp lawsuit are covered in whole or in part under the ZURICH policy and trigger the

                   Policy duty to defend under the eight corners rule. ZURICH did not respond. In so doing

                   ZURICH has breached the Policy. ZURICH is obligated to provide indemnification and

                   defense against the Harp lawsuit. ZURICH breached the ZURICH Policy by refusing to

                   indemnify and defend TPIC against the Harp lawsuit.

                          29.     Alternatively, without waiver of the foregoing, TPIC through TANMAR and

                   Arthur J. Gallagher Risk Management Services (TANMAR's retail insurance agent)

                   provided ZURICH copies of the pleadings in the Harp lawsuit and demanded ZURICH

                   provide TPIC coverage for the Big "6" demand for contractual indemnification and defense

                   under the ZURICH Policy's "insured contracts" exception contained within the ZURICH

                   Policy's general exclusion for contractual liabilities. The Big "6" demand against TPIC for

                   contractual indemnification and defense is covered under the ZURICH policy. ZURICH

                   did not respond. In so doing ZURICH breached the Policy. ZURICH is obligated to

                   provide coverage for the Big "6'' demand against TPIC for contractual indemnification and




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                   defense. ZURICH breached the ZURICH Policy by not provided coverage for the Big "6''

                   demand for contractual indemnification and defense.

                                                      VIII.
                                        SCOTTSDALE'S BREACH OF CONTRACT

                          30.   Alternatively, without waiver of the foregoing, TPIC through TANMAR and

                   Arthur J. Gallagher Risk Management Services (TANMAR's retail insurance agent)

                   provided SCOTTSDALE copies of the pleadings in the Harp lawsuit and demanded

                   SCOTTSDALE provide TPIC indemnification and defense against the Harp lawsuit. The

                   pleadings in the Harp lawsuit are covered in whole or in part under the SCOTTSDALE

                   policy and trigger the Policy duty to defend under the eight corners rule. SCOTTSDALE

                   did not respond. SCOTTSDALE is obligated to provide indemnification and defense

                   against the Harp lawsuit. SCOTTSDALE breached the SCOTTSDALE Policy by refusing

                   to indemnify and defend TPIC against the Harp lawsuit.

                          31.   Alternatively, without waiver of the foregoing, TPIC through TANMAR and

                   Arthur J. Gallagher Risk Management Services (TANMAR's retail insurance agent)

                   provided SCOTTSDALE copies of the pleadings in the Harp lawsuit and demanded

                   SCOTTSDALE      provide TPIC coverage for the Big "6" demand for contractual

                   indemnification and defense under the SCOTTSDALE Policy's "insured contracts"

                   exception contained within the SCOTTSDALE Policy's general exclusion for contractual

                   liabilities. The Big "6" demand against TPIC for contractual indemnification and defense

                   is covered under the SCOTTSDALE           policy.     SCOTTSDALE did not respond.

                   SCOTTSDALE is obligated to provide coverage for the Big "6" demand against TPIC for

                   contractual indemnification and defense. SCOTTSDALE breached the SCOTTSDALE




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                   Policy by not provided coverage for the Big "6" demand for contractual indemnification

                   and defense.

                                                           DAMAGES

                          32.     DEFENDANTS' breach of contract as set forth herein was a direct cause,

                   cause in fact, proximate cause and/or producing cause of damages to TPIC.            TPIC

                   sustained foreseeable actual direct and/or consequential damages as a result of

                   DEFENDANTS' breach of contract. All damages sustained by TPIC were within the

                   contemplation of the parties at the time of contracting.

                          33.     TPIC incurred attorney fees to defend and protect itself against the Harp

                   lawsuit and will incur additional future attorney fees as the Harp lawsuit progresses. TPIC

                   incurred attorney fees to prosecute this breach of contract claim against DEFENDANTS

                   and will incur additional future attorney fees to prosecute this breach of contract claim

                   against DEFENDANTS.

                          34.     TPIC further incurred attorney fees in the filing and prosecuting of this

                   lawsuit against TAN MAR and ZURICH, which TPIC seeks recovery of under Chapter 38

                   of the Texas Civil Practices & Remedies Code.

                          35.     While TPIC disputes and denies any liabilities in the Harp lawsuit, TPIC

                   seeks indemnification from DEFENDANTS in the remote event TPIC incurs liability for

                   damages of any nature to any person or entity whatsoever as a result of either the Harp

                   lawsuit or the Big "6" demand for indemnification and protection against the Harp lawsuit.

                   In the remote event any legal liabilities to pay damages as a result of the Harp lawsuit,

                   any and all reasonably foreseeable damages are recoverable from TAN MAR as a result




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                   of the TPIC/TANMAR MSA, and/or covered under the ZURICH Policy and/or covered

                   under the SCOTTSDALE Policy.

                                                            VII.
                                                  REQUEST FOR DISCLOSURE

                          36.     Pursuant to TEX. R. CIV. P. 194, TPIC hereby requests all DEFENDANTS

                   named in this action to disclose, within 50 days of service of this request, the information

                   or material described in Rule 194.2(a)-(I).

                                                              VIII.
                                                          JURY DEMAND

                          37.     Pursuant to TEX. R. CIV. P. 216, TPIC hereby respectfully demands a trial

                   by jury.

                                                              PRAYER
                          WHEREFORE,         PREMISES       CONSIDERED,         Plaintiff TEXAS   PETROLEUM

                   INVESTMENT COMPANY prays Defendants TANMAR RENTALS, LLC, TANMAR

                   COMPANIES, LLC, TANMAR COMMUNICATIONS, LLC, and ZURICH AMERICAN

                   INSURANCE COMPANY be cited and caused to appear in these proceedings, that upon

                   the grounds set forth herein Plaintiff obtain judgment against the DEFENDANTS that it

                   may have and recover all relief as set forth herein, together with pre-judgment and post-

                   judgment interest, attorney fees, court costs, and such other and further relief to which

                   Plaintiff may show itself justly entitled at law or in equity.




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             Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 48 of 80
(Page   15    of   15)




                                              Respectfully Submitted,

                                              DONATO, MINX,BROWN & POOL, P.C.




                                              Robert D. Brown
                                              SBN: 03164715
                                              bbrown@donatominxbrown.com
                                              Mark A. Youngjohn
                                              SBN: 24028247
                                              myoungjohn@donatominxbrown.com
                                              3200 Southwest Freeway, Ste. 2300
                                              Houston, TX 77027
                                              PHONE: (713) 877-1112
                                              FAX: (713) 877-1138

                                              ATTORNEY FOR PLAINTIFF
                                              TEXAS PETROLEUM INVESTMENT
                                              COMPANY




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         Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 49 of 80




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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


     Certified Document Number:                                                                                  89378002 Total Pages: 1




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     HARRIS COUNTY, TEXAS




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        Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 51 of 80




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     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


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                                01~0                      CAUSE NO.
                                                                                                                                              @
                                                          RECEIPT NO.                                                  75.00              CTM
                                                                    **********                                           TR # 73720648
             INTIFF: TEXAS PETROLEUM INVESTMENT CO~lPANY                                               In The    152nd
                   vs.                                                                                 Judicial  District Court
                                                                                                       of Harris  County, Texas
                                                                                                       152ND DISTRICT COURT
                                                                                                       Houston,  TX
                                                         CITATION     (CERTIFIED)




      TO:                ERICAN INSURANCE COMPANY (FOREIGN CORPORATION) BY SERVING ITS
                           AGENT CORPORATE SERVICE COMPANY

             211     E 7TH            620        AUSTIN     TX   78701     - 3218
                                     FIRST AMENDEDPETITION REQUESTS FOR DISCLOSURE AND JURY DEMAND


                                      on the      27th day of       January,  2020, in           the above       cited      cause    number
                                      attached       describes      the claim against            you.

              YOU HAVE BEEN SUED,              employ an attorney.     If you or your attorney  do not file   a
      written    answer with the Di            Clerk who issued    th~s citation   by 10:00 a.m on the Monday
      next following      the expiratio        20 days after   you were served   this  citation and petition,
      a default     judgment  may be ta~    n against you.

      TO OFFICER SERVING:
                This citation                      6th    day of February,          2020,      under   my hand      and
      seal     of said Court.




      Issued   at request   of:                                                       MARILYN BURGESS, District                Clerk
      BROWN, ROBERT D.                                                                Harris     County,       Texas
      3200    SOUTHWESTFWY SUITE 2300                                                 201 Caroline,  Houston,  Texas 77002
      HOUSTON, TX 77027                                                               (P.O. Box 4651, Houston,   Texas 77210)
      Tel:   (713) 871-1165
      Bar No.:    3164715                                                     Generated        By: HILL,       MARCELLA DBG//11426366




      Came to hand the                 day of -c~------~+--------'                                               , and executed          by
      mailing  to Defendant    certified      mail,   return  receip                             restricted       delivery,         a true
      copy    of    this      citation         together       with                                      copy      of
        FIRST AMENDEDPETITION REQUESTS FOR DISCLOSURE AND
      to the following    addressee       at address:


                                                                 ADDRESS

                                                                 Service     was e ecuted    in accordance      with Rule 106
      (a)ADDRESSEE                                                   (2) TRCP, u on the Defendant          as evidenced     by the
                                                                       return   rece'pt   incorporated      herein   and attached
                                                                       hereto   at


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                                                                 This citation                                                  following
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                                                                 MARILYN BURGESS, District
                                                                 Harris County, TEXAS

                                                                 By --------------'\------'                                            Deputy




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                                                           CAUSE NO.           201981520

                                                           RECEIPT NO,                                                           75.00             CTM
                                                                        **********                                               TR j/ 73720648
   PLAINTIFF: TEXAS PETROLEUM INVESTMENT COMPANY                                                          In The    152nd
            vs.                                                                                           Judicial  District Court
   DEFENDANT: TANMARRENTALS LLC                                                                           of Harris  County, Texas
                                                                                                          152ND DISTRICT COURT
                                                                                                          ~ouston,  TX
                                                       CITATION           (CERTIFIED)
   THE STATE OF TEXAS
   County of Harris



   TO: ZURICH AMERICAN INSURANCE COMPANY (FOREIGN CORPORATION) BY SERVING ITS
       REGISTERED AGENT CORPORATE SERVICE COMPANY

          211     E 7TH STREET STE 620            AUSTIN     TX        78701     - 3218
          Attached    is   a copy   of FIRST AMENDEDPETITION                   REQUESTS FOR DISCLOSURE AND JURY DEMAND


   This instrument    was filed        on the      27th day of January,   2020, in                  the above            cited      cause      number
   and court.   The instrument         attached       describes the claim against                   you.

           YOU HAVE BEEN SUED, You may employ an attorney.         If you or                        your attorney                 do not file   a
   written    answer with the District     Clerk who issued   this   citation                         by 10:00 a.m                on the Monday
   next following      the expiration   of 20 days after   you were served                          this  citation                and petition,
   a default     judgment  may be taken   against  you.

   TO OFFICER SERVING:
             This citation     was issued     on 6th       day    of    February,       2020,    under     my hand          and
   seal     of said Court.




    Issued   at request   of:                                                             MARILYN BURGESS, District     Clerk
   BROWN, ROBERT D.                                                                       Harris~County,  Texas
   .3200_ SOUTHWEST FWY SUITE 2300                                                        201 Caroline,  Houston,   Texas 77002
   HOUSTON, TX 77027                                                                      (P.O. Box 4651, Houston,    Texas 77210)
   Tel:    (713) 871-1165
   Bar No.:      3164715                                                            Generated     By:    HILL,     MARCELLA DBG//11426366


                                                     CLERK'S RETURN BY MAILING
   Came to hand the                day of --ccc-----------,------cc-----                                             ,    and executed    by
   mailing  to Defendant    certified     mail,     return         receipt  requested,    restricted                     delivery,   a true
   copy    of    this     citation          together               with    an    attached        copy                    of
     FIRST AMENDEDPETITION REQUESTS FOR DISCLOSURE AND JURY DEMAND
   to the following   addressee       at address:


                                                                       ADDRESS

                                                                       Service      was executed    in accordance      with Rule 106
   (a) ADDRESSEE                                                           (2) TRCP, upon the Defendant           as evidenced     by the
                                                                             return    receipt   incorporated      herein   and attached
                                                                             hereto    at


                                                                       on             day    of
                                                                       by U.S.      Postal    delivery     to


                                                                       This citation         was not     executed          for      the     following
                                                                       reason:


                                                                       MARILYN BURGESS, District                 Clerk
                                                                       Harris County, TEXAS

                                                                       By ____________________                                               , Deputy




   N.INT,CITM.P                                                                     *73720648*
          Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 55 of 80




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     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


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                                                           CAUSE NO.        201981520

                                                           RECEIPT NO.                                                       75.00              CTM
                                                                   **********                                                TR f 73720952
   P AINTIFF: TEXAS PETROLEUM INVESTMENT COMPANY                                                            In The        152nd
            vs.                                                                                             Judicial      District      Court
        DANT: TANMARRENTALS LLC                                                                             of Harris      County,      Texas
                                                                                                            152ND DISTRICT           COURT
                                                                                                            Houston, TX
                                                          CITATION (CERTIFIED)




   TO: TANMARRENTR S LLC (A FOREIGN LIMITED LIABILITY COMPANY) MAY BE $ERVED
       WITH PROCESS Y SERVING ITS REGISTERED AGENT CAPITAL CORPORATE SERVICES INC

          206       E 9TH ST ST          1300    AUSTIN   TX   78701   - 4411
          Attached       is    a                               PETITION REQUESTS FOR DISCLOSURE AND JURY DEMAND


   This     instrument         was filed                           January,  2020, in               the above        cited      cause    number
   and court.          The instrument                              the claim against                you.

           YOU HAVE BEEN SUED, You                   employ an attorney.      If you or your attorney   do not file   a
   written    answer with the Distri                 Clerk who issued    this   citation   by 10:00 a.m on the Monday
   next following      the expiration   o            20 days after   you were served     this  citation and petition,
   a default     judgment  may be taken.a             ainst you.

   TO OFFICER SERVING:
             This citation                                 day of February,            2020,      under     my hand     and
   seal     of said Court.




   Issued         at ~eguest       of:                                                  MARILYN BURGESS, District     Clerk
   BROWN, ROBERT D.                                                                     Harris  County,  Texas
   3200  SOUTHWESTFWY SUITE 2300                                                        201 Caroline,   Houston,  Texas 77002
   HOUSTON, TX_ 77027                                                                   (P.O. Box 4651, Houston,    Texas 77210)
   Tel: (713) 871-1165
   Bar No.:  3164715                                                                                              MARCELLA DBG//11426366


                                                                                   MAILING
   Came to hand the             .. day of -----------~-------'                                                       , and executed    by
   mailing  to Defendant     certified     mail,   return      receipt  re                          restricted        delivery,   a true
   copy    of    this      citation         together           with    an                                  copy       of
     FIRST AMENDEDPETITION REQUESTS FOR DISCLOSURE AND JURY.
   to the following    addressee       at address:


                                                                  ADDRESS

                                                                  Service       was     execute        in    accordance         with    Rule    106
   (a) ADDRESSEE                                                       (2) TRCP, upon             the   efendant          as evidenced    by the
                                                                         return receipt             inc rporated           herein  and attached
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                                                                  on                day of ------+--------
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                                                                  This citation
                                                                  reason:


                                                                  MARILYN BURGESS, District
                                                                  Harris County, TEXAS

                                                                  By
                                                                       -------------------\--'                                            Deputy




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Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 57 of 80

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                                                                        CAUSE NO.              201981520

                                                                       RECEIPT NO.                                                                  75.00                    CTM
                                                                                       **********                                                   TR ii 73720952
   PLAINTIFF: TEXAS PETROLEUM INVESTMENT COMPANY                                                                              In The               152nd ·
            vs.                                                                                                               Judicial             District          Court
   DEFENDANT: TANMARRENTALS LLC                                                                                               of     Harris         County,          Texas
                                                                                                                              152ND DISTRICT                   COURT
                                                                                                                              Houston,             TX
                                                                      CITATION          (CERTIFIED)
   THE STATE OF TEXAS
   County of Harris



   TO: TANMARRENTALS LLC (A FOREIGN LIMITED LIABILITY COMPANY) MAY BE SERVED
       WITH PROCESS BY SERVING ITS REGISTERED AGENT CAPITAL CORPORATE SERVICES INC

          206          E 9TH ST STE 1300                   AUSTIN     TX       78701        - 4411
          Attached          is    a copy        of    FIRST AMENDED PETITION REQUESTS FOR DISCLOSURE AND JURY DEMAND


   This instrument    was filed                       on the 27th day of               January,  2020, in            the above            cited          cause        number
   and court.   The instrument                        attached  describes              the claim against             you.

           YOU HAVE BEEN SUED, You may employ an attorney.         If you or                                         your attorney                   do not file   a
   written    answer with the District     Clerk who issued   this   citation                                          by 10:00 a.m                  on the Monday
   next following      the expiration   of 20 days after   you were served                                           this  citation                  and petition,
   a default     judgment  may be taken   against  you.

   TO OFFICER SERVING:
              This citation               was    issued      on 6th     day     of     February,          2020,    under       my hand             and
   seal      of said Court.




   Issued         at    request     of:                                                                   MARILYN BURGESS, District                             Clerk
                                                                                                          Harris     County,           Texas
   BROWN, ROBERT D.
   3200  SOUTHWESTFWY SUITE 2300                                                                          201 Caroline,   Houston,  Texas 77002
   HOUSTON, TX 77027                                                                                       (P.O. Box 4651, Houston,   Texas 77210)
   Tel: (713) 871-1165
   Bar No.:  3164715                                                                               Generated       By:     HILL,        MARCELLA DBG//11426366


                                                                     CLERK'S RETURN BY MAILING
   Came to        hand     the                       day   of __________________                                                          , and          executed         by
   mailing        to    Defendant         certified          mail,    return         receipt       requested,        restricted               delivery,           a true
   copy    of    this     citation       together with an  attached                                                           copy            of
     FIRST AMENDEDPETITION REQUESTS FOR DISCLOSURE AND JURY DEMAND
   to the following   addressee    at address:


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                                                                                     Service       was    executed       in        accordance            with     Rule       106
   (a)ADDRESSEE                                                                             (2) TRCP, upon         the Defendant                   as evidenced             by the
                                                                                              return receipt         incorporated                   herein  and          attached
                                                                                             hereto  at


                                                                                     on              day     of ____________                                     _
                                                                                     by U.S.       Postal     delivery   to


                                                                                     This      citation      was not       executed            for       the     following
                                                                                     reason:


                                                                                     MARILYN BURGESS, District                       Clerk
                                                                                     Harris County, TEXAS

                                                                                     By ____________________                                                         , Deputy




   N.INT.CITM.P                                                                                     *73720952*
          Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 58 of 80




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     County, Texas certify that this is a true and
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     this February 26, 2020


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     HARRIS COUNTY, TEXAS




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               Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 59 of 80




SENDER: COMPLETE THIS SECTION
~ CompleteItems1, 2, anda.
~ Prlntyour nameand addresson the reverse                                                                             ~
 ~o that we can returnthe cardto you.                                                               ~:,,,s.-,.,,,,r   □ Addressee

111,Attachthis card to the back ofthe mailpiece,
 • or on the front If space permits.
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,~        TANMAR RENTALSLLC
· f,/O CAPITALCORPORATESERVICESINC
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          Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 61 of 80




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 26, 2020


     Certified Document Number:         89476965 Total Pages: 2




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           Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 62 of 80




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          Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 64 of 80




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
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                                           CAUSE NO. 2019-81520

        TEXAS PETROLEUM INVESTMENT                            §     IN THE DISTRICT COURT OF
        COMPANY                                               §
                                                              §
                                                              §
        vs.                                                   §     HARRISCOUNTY,TEXAS
                                                              §
        TANMAR RENTALS, LLC, TANMAR                           §
        COMPANIES, LLC AND TANMAR                             §
        COMMUNICATIONS, LLC                                   §     152NDJUDICIAL DISTRICT

                                     DEFENDANT'S JURY DEMAND

        TO THE HONORABLE JUDGE OF SAID COURT:

               COMES NOW, TANMAR RENTALS, LLC, TANMAR COMPANIES, LLC AND

        TANMAR COMMUNICATIONS, LLC, Defendants in the above entitled and numbered cause,

        hereby make this its Demand for Trial by Jury.

                                                    Respectfully submitted,

                                                    NEWTON, JONES & SPAETH



                                                    By: ___         ________                _
                                                              H. Dwayne Newton
                                                              State Bar No. 14977200
                                                              3405 Marquart
                                                              Houston, Texas 77027
                                                              (713) 493-7620 -Telephone
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                                                              dnewton@newton-lav.yers.com


                                                    ATTORNEYS FOR DEFENDANTS
                                                    TANMAR RENTALS, LLC, TANMAR
                                                    COMPANIES, LLC AND TANMAR
                                                    COMMUNICATIONS, LLC
         Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 66 of 80




                                        CERTIFICATE OF SERVICE

                The undersigned certifies that on this the 19th day of February, 2020, the foregoing
         document was served via eservice and if unavailable in accordance with the Texas Rules of Civil
         Procedure on the following counsel of record:

         Robert D. Brown
         Mark A. Youngjohn
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         BROWN & POOL, P.C.
         3200 Southwest Freeway, Ste. 2300
         Houston, TX 77027
         bbrown @donatomin xbrown.com
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         ATTORNEYS FOR PLAINTIFF




                                                            H. Dwayne Newton




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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 20, 2020


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                                                                                     Marilyn Burgess - District Clerk Harris County
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                                             CAUSE NO. 2019-81520                                                   By: Iliana Perez
                                                                                                         Filed: 2/19/2020 9:50 AM

        TEXAS PETROLEUM INVESTMENT                                §   IN THE DISTRICT COURT OF
        COMPANY                                                   §
                                                                  §
                                                                  §
        vs.                                                       §   HARRIS COUNTY, TEXAS
                                                                  §
        TANMAR RENTALS, LLC, TANMAR                               §
        COMPANIES, LLC AND TANMAR                                 §
        COMMUNICATIONS, LLC                                       §   152NDJUDICIAL DISTRICT

              DEFENDANTS TANMAR RENTALS, LLC, TANMAR COMPANIES, LLC AND
                    TANMAR COMMUNICATIONS, LLC' ORIGINAL ANSWER

        TO THE HONORABLE JUDGE OF SAID COURT:

                COMES NOW, TANMAR RENTALS, LLC, TANMAR COMPANIES, LLC AND

        TANMAR COMMUNICATIONS, LLC, Defendants in the above entitled and numbered cause,

        and file this, their Original Answer to Plaintiffs Original Petition, respectfully showing unto the

        Court the following:

                                                             I.

                Subject to any stipulations and admissions that may hereafter be made, these Defendants

        asserts a general denial, as authorized by Rule 92 of the Texas Rules of Civil Procedure, and

        respectfully requests that the Plaintiff be required to prove the charges and allegations against

        Defendants by a preponderance of the evidence in accordance with the Constitution and Laws of

        the State of Texas.

                                                         II.

               For further answer, Defendants allege the contract in question contained a choice of law
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        provision which specified the application of Louisiana Law in connection with the right,
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        responsibilities and duties of the parties under the contract. As a result, Louisiana Law applies to
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z       the causes of action asserted by Plaintiff herein.
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         Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 69 of 80



                 For further answer, Plaintiffs cause of action for indemnity is barred under the Louisiana

         Oilfield Indemnity Act, LSA-R.S. 9:2780. Such Act invalidates the indemnity provisions of the

         contract.

                                                          IV.

                In the event the Court applies Texas law, then in that event, Defendants assert that the

         indemnity agreement fails to satisfy the requirements under Texas Oilfield Indemnity Act for

         mutual indemnity.    As such, to the extent such indemnity agreement is enforceable, which is

         denied, it constitutes a unilateral indemnity obligation and is subject to the limitations on indemnity

         for such agreements under the Texas Oilfield Indemnity Act.

                 WHEREFORE PREMISES CONSIDERED, Defendants TANMAR RENTALS, LLC,

         TANMAR COMPANIES, LLC AND TANMAR COMMUNICATIONS, LLC respectfully

         prays that Plaintiff take nothing by this suit, and that these Defendants be discharged with its costs

         and for such other and further relief , both general and special, at law and in equity, to which they

         may show itself justly entitled.

                                                        Respectfully submitted,

                                                        NEWTON, JONES & SPAETH



                                                        By:--------------
                                                                  H. Dwayne Newton
                                                                  State Bar No. 14977200
                                                                  3405 Marquart
                                                                  Houston, Texas 77027
                                                                  (713) 493-7620 - Telephone
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                                                                  (713) 493-7633 - Facsimile
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                                                        ATTORNEYS FOR DEFENDANTS
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         Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 70 of 80




                                        CERTIFICATE OF SERVICE

                The undersigned ce1iifies that on this the 19th day of February, 2020, the foregoing
         document was served via eservice and if unavailable in accordance with the Texas Rules of Civil
         Procedure on the following counsel of record:

         Robert D. Brown
         Mark A. Youngjohn
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         BROWN & POOL, P.C.
         3200 Southwest Freeway, Ste. 2300
         Houston, TX 77027
         bbrown @ donatom inxbrown .com
         myoungjohn @donatominxbrown .com


         ATTORNEYS FOR PLAINTIFF



                                                            H. Dwayne Newton




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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
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     Witness my official hand and seal of office
     this February 20, 2020


     Certified Document Number:                                               89500055 Total Pages: 3




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                                                                                                        3/2/2020 9:27 AM
                                                                           Marilyn Burgess - District Clerk Harris County
                                                                                                Envelope No. 41278654
                                                                                                 By: KATINA WILLIAMS
                                                                                                Filed: 3/2/2020 9:27 AM
                                        Cause No. 2019-81520

 TEXAS PETROLEUM INVESTMENT                      §             IN THE DISTRICT COURT OF
 COMPANY                                         §
                                                 §
                      Plaintiff                  §
v.                                               §
                                                 §
 TANMAR RENTALS, LLC,                            §                 HARRIS COUNTY, TEXAS
 TANMAR COMPANIES, LLC and                       §
 TANMAR COMMUNICATIONS, LLC                      §
                                                 §
                      Defendants                 §
                                                 §                 152nd JUDICIAL DISTRICT


            DEFENDANT ZURICH AMERICAN INSURANCE COMPANY'S
                    ORIGINAL ANSWER AND DEFENSES

       Defendant Zurich American Insurance Company ("Zurich"), files its Original Answer

and Defenses to Plaintiff's First Amended Petition, Requests for Disclosure and Jury Demand

("First Amended Petition") and would respectfully show the Court as follows:

                                   I.        GENERAL DENIAL

       1.     As is its right pursuant      to Rule 92 of the Texas Rules of Civil Procedure,

Defendant Zurich generally denies each and every allegation of Plaintiff's First Amended

Petition and demands strict proof thereof.

                                   II.       OTHER DEFENSES

       2.     Should additional defenses be necessary, Zurich pleads as follows:

       3.     Plaintiff's claims are barred or limited, in whole or in part, by the following

policy provisions in the policy issued by Zurich to TanMar Rentals, LLC:

       Throughout this policy the words "you" and "your" refer to the Named Insured
       shown in the Declarations, and any other person or organization qualifying as
       a Named Insured under this policy.




DEFENDANT ZURICH'S ORIGINAL ANSWER AND DEFENSES-PAGE           1
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      SECTION I - COVERAGES COVERAGE A -                     BODILY INJURY AND
      PROPERTY DAMAGELIABILITY

      1.   Insuring Agreement

      a. We will pay those sums that the insured becomes legally obligated to pay as
      damages because of "bodily injury" or "property damage" to which this
      insurance applies. We will have the right and duty to defend the insured against
      any "suit" seeking those damages. However, we will have no duty to defend the
      insured against any "suit" seeking damages for "bodily injury" or "property
      damage" to which this insurance does not apply. We may, at our discretion,
      investigate any "occurrence" and settle any claim or "suit" that may result. But:

      (1) The amount we will pay for damages is limited as described in Section III -
      Limits Of Insurance; and

      (2) Our right and duty to defend ends when we have used up the applicable
      limit of insurance in the payment of judgments or settlements under Coverages
      A or B or medical expenses under Coverage C.

      No other obligation or liability to pay sums or perform acts or services is
      covered unless explicitly provided for under Supplementary Payments -
      Coverages A and B.



      2.   Exclusions

      This insurance does not apply to:



      b. Contractual Liability

      "Bodily injury" or "property damage" for which the insured is obligated to pay
      damages by reason of the assumption of liability in a contract or agreement.
      This exclusion does not apply to liability for damages:

      (1) That the insured would have in the absence of the contract or agreement; or

      (2) Assumed in a contract or agreement that is an "insured contract", provided
      the "bodily injury" or "property damage" occurs subsequent to the execution of
      the contract or agreement. Solely for the purposes of liability assumed in an
      "insured contract", reasonable attorneys fees and necessary litigation expenses
      incurred by or for a party other than an insured are deemed to be damages
      because of "bodily injury" or "property damage", provided:

      (a) Liability to such party for, or for the cost of, that party s defense has also
      been assumed in the same "insured contract"; and



DEFENDANT ZURICH'S ORIGINAL ANSWER AND DEFENSES-PAGE         2
Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 74 of 80




      (b) Such attorneys fees and litigation expenses are for defense of that party
      against a civil or alternative dispute resolution proceeding in which damages to
      which this insurance applies are alleged.


      SECTION III --- - LIMITS OF INSURANCE

      1. The Limits of Insurance shown in the Declarations and the rules below fix
      the most we will pay regardless of the number of:

      a. Insureds;

      b. Claims made or "suits" brought; or

      c. Persons or organizations making claims or bringing "suits".



      9. "Insured contract" means:

      a. A contract for a lease of premises. However, that portion of the contract for
      a lease of premises that indemnifies any person or organization for damage by
      fire to premises while rented to you or temporarily occupied by you with
      permission of the owner is not an "insured contract";

      b. A sidetrack agreement;

      c. Any easement or license agreement, except in connection with construction
      or demolition operations on or within sofeet of a railroad;

      d. An obligation, as required by ordinance, to indemnify a municipality, except
      in connection with work for a municipality;

      e. An elevator maintenance agreement;

      f. That part of any other contract or agreement pertaining to your business
      (including an indemnification of a municipality in connection with work
      performed for a municipality) under which you assume the tort liability of
      another party to pay for "bodily injury" or "property damage" to a third person
      or organization. Tort liability means a liability that would be imposed by law in
      the absence of any contract or agreement.

      Paragraph f. does not include that part of any contract or agreement:

      (1) That indemnifies a railroad for "bodily injury" or "property damage" arising
      out of construction or demolition operations, within so feet of any railroad
      property and affecting any railroad bridge or trestle, tracks, roadbeds, tunnel,
      underpass or crossing;

      (2) That indemnifies an architect, engineer or surveyor for injury or damage
      arising out of:

DEFENDANT ZURICH'S ORIGINAL ANSWER AND DEFENSES-      PAGE 3
Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 75 of 80




      (a) Preparing, approving, or failing to prepare or approve, maps, shop
      drawings, opinions, reports, surveys, field orders, change orders or drawings
      and specifications; or

      (b) Giving directions or instructions, or failing to give them, if that is the
      primary cause of the injury or damage; or

      (3) Under which the insured, if an architect, engineer or surveyor, assumes
      liability for an injury or damage arising out of the insureds rendering or failure
      to render professional services, including those listed in (2) above and
      supervisory, inspection, architectural or engineering activities.


      SECTION IV - COMMERCIALGENERALLIABILITYCONDITIONS


      b. If a claim is made or "suit" is brought against any insured, you must:

      (1) Immediately record the specifics of the claim or "suit" and the date received;
      and

      (2) Notify us as soon as practicable.

      You must see to it that we receive written notice of the claim or "suit" as soon
      as practicable.

      c. You and any other involved insured must:

      (1) Immediately send us copies of any demands, notices, summonses or legal
      papers received in connection with the claim or "suit";

      (2) Authorize us to obtain records and other information;

      (3) Cooperate with us in the investigation or settlement of the claim or defense
      against the "suit"; and

      (4) Assist us, upon our request, in the enforcement of any right against any
      person or organization which may be liable to the insured because of injury or
      damage to which this insurance may also apply.

      d. No insured will, except at that insured's own cost, voluntarily make a
      payment, assume any obligation, or incur any expense, other than for first aid,
      without our consent.



      [To the extent Plaintiff qualifies as an additional insured, such coverage:]

      (i) Only applies to the extent permitted by law; and

DEFENDANT ZURICH'S ORIGINAL ANSWER AND DEFENSES-       PAGE 4
Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 76 of 80




      (ii) Will not be broader than that which you are required by the written contract
      or written agreement to provide for such additional insured.



      The additional insured must see to it that:

      (1) We are notified as soon as practicable of an "occurrence" or offense that may
      result in a claim;

      (2) We receive written notice of a claim or "suit" as soon as practicable; and

      (3) A request for defense and indemnity of the claim or "suit" will promptly be
      brought against any policy issued by another insurer under which the
      additional insured may be an insured in any capacity. This provision does not
      apply to insurance on which the additional insured is a Named Insured if the
      written contract or written agreement requires that this coverage be primary
      and non-contributory.

      4.     The Master Service Agreement ("MSA")between Plaintiff and TanMar Rentals,

LLC further restricts and prohibits additional insurance coverage sought by Plaintiff. The

MSA provides that TanMar Rentals, LLC shall provide "insurance coverages of the kind and

in the minimum amounts, as follows:"

      (b) Broad Form Commercial General Liability Insurance with a combined
      Bodily Injury and Property Damage Limits of at least $1,000,000     for each
      occurrence and $2,000,000   aggregate per policy, specifically including the
      following:

      i) Contractual Liability to cover liabilities assumed under this Agreement,



      (e) Excess Umbrella Liability Insurance over that required in Paragraph 6.1 (a),
      (b), (c), and (d) with minimum limits of $4,000,000  (in addition to the primary
      coverage) specifically including Contractor's Contractual Liability.



      6.3 ... Additionally, only for and to the extent Contractor assumes liability
      hereunder and agrees to indemnify Company, Company shall be named an
      additional insured in all such insurance policies (with exception of Workers'
      Compensation coverage) with all such insurance being primary to any
      insurance of Company that may apply to any such occurrence, accident or
      claim, but only for and to the extent Contractor assumes liability and agrees to
      indemnify Company hereunder ....        The parties agree that the additional
      insured status and waivers of subrogation which Contractor obtains for

DEFENDANT ZURICH'S ORIGINAL ANSWER AND DEFENSES-PAGE        5
Case 4:20-cv-00894 Document 1-2 Filed on 03/11/20 in TXSD Page 77 of 80




      Company shall not protect or offer coverage to Company for the indemnity
      obligations or liabilities specifically allocated to Company in this Agreement or
      any other agreement, or for liabilities not addressed herein .... Contractor and
      Company agree that any insurance coverage which each obtains for the other
      does not prime, supersede or take precedence over the indemnity obligations
      which each owes to the other.



      6.7 In order to comply with the public policy of Louisiana, Contractor shall
      procure and shall cause Company to be separately invoiced for the
      underwriting and premium costs of the waivers of subrogation and additional
      named insured endorsements required herein as well as specific named
      additional insured coverage. The amount charged to Company for the
      underwriting cost shall be requested at a rate based upon the gross revenues
      paid to Contractor for the work performed by Contractor under this Agreement
      and shall be separately calculated on an annual basis and paid by Company
      directly to Contractor's insurer or its designated agent. Payment by Company
      shall constitute an acknowledgement by the insurer that Company has borne
      the actual cost of the insurance coverage provided and is in compliance with
      Louisiana Revised Statutes 9:2780. Upon payment by Company of the
      underwriting costs on an annual audited basis, the underwriters shall be
      required by Contractor to acknowledge the existence of coverage as required by
      this Agreement for all occurrences during the applicable policy year, even
      though the payment may not yet have been issued or received by the
      underwriter prior to the date of the occurrence.



      7. INDEMNITY



      7.2 CONTRACTOR AGREES TO RELEASE, PROTECT, DEFEND,
      INDEMNIFY AND HOLD HARMLESS COMPANY, ITS OFFICERS,
      DIRECTORS, EMPLOYEES, JOINT OWNERS, AND THEIR INVITEES, AND
      ANY CUSTOMER FOR WHOM COMPANY IS PERFORMING SERVICES
      (HEREINAFTER COLLECTIVELYREFERRED TO AS "COMPANYGROUP")
      AND ALL OF COMPANYGROUP'S INSURERS, FROM• AND AGAINST ALL
      CLAIMS, DEMANDS, AND CAUSES OF ACTION OF EVERY KIND AND
      CHARACTERWITHOUT LIMIT AND WITHOUT REGARD TO THE CAUSE
      OR CAUSESTHEREOF OR THE NEGLIGENCE, BREACH OF CONTRACTOR
      WARRANTY, OR FAULT (ACTIVE OR PASSIVE) OF ANY PARTY OR
      PARTIES INCLUDING THE SOLE, JOINT OR CONCURRENT
      NEGLIGENCE, INCLUDING GROSS NEGLIGENCE, OF COMPANYGROUP,
      ANY THEORY OF STRICT LIABILITY OR STATUTORY LIABILITY AND
      DEFECT OF PREMISES, OR THE UNSEAWORTHINESS OF ANY VESSEL
      (WHETHER OR NOT PREEXISTING THE DATE OF THIS CONTRACT),
      ARISING IN CONNECTION HEREWITH IN FAVOR OF CONTRACTOR,
      CONTRACTOR'S EMPLOYEES, CONTRACTOR'S SUBCONTRACTORS OR


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       THEIR EMPLOYEES, OR CONTRACTOR'S INVITEES ON ACCOUNT OF
       BODILYINJURY, DEATH OR DAMAGETO PROPERTY.

       5.     The MSA includes a choice of law clause that provides the MSA is governed by

Louisiana law. Thus, the Louisiana Oil Field Anti-Indemnity Act applies to the MSA. TanMar

complied with the MSA in respect to causing Plaintiff to be invoiced. Yet, Plaintiff failed to

pay premiums for the additional insured coverage sought pursuant to the Marcel exception.

The additional insured provisions are therefore null and void and of no force or effect.

Additional insured coverage is barred.

       6.     The contractual liability exclusion in the Policy applies to any contractual

indemnity owed by Plaintiff to Big "6" under a separate agreement. Such agreement does not

qualify as an "insured contract." Furthermore, coverage for such contractual indemnity is

expressly excluded by the MSA and, in turn, excluded by the additional insured provisions in

the Policy. Furthermore, Big "6" is not within the "Company Group" entitled to indemnity

under the MSA and, in turn, is not required by the additional insured provisions in the Policy.

       7.     To the extent Plaintiff is entitled to recover defense costs (which Zurich denies),

such defense costs incurred prior to tender are barred under the voluntary payments

provision.

       8.     To the extent Plaintiff is otherwise entitled to a defense or indemnity from

Zurich (which Zurich denies), Plaintiff is bound by the cooperation provisions. Any breach of

those provisions excuses Zurich from performance.

       9.     To the extent Plaintiff is otherwise entitled to indemnity from Zurich (which

Zurich denies), such coverage would be limited to   $1,000,000.

       10.    To the extent Plaintiff is entitled to contractual indemnity from any of the

TanMar entities (which Plaintiff denies), the additional insured coverage sought hereunder

shall not prime, supersede or take precedence over such contractual indemnity.




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                                     III.    RIGHT TO AMEND

        11.        Defendant Zurich reserves the right amend its answer in accordance with the

Texas Rules of Civil Procedure, including amending to include affirmative and other

additional defenses.

                                               PRAYER

        Defendant Zurich American Insurance Company prays that the Plaintiff Texas

Petroleum Investment Company take nothing by its suit, and that Defendant Zurich recover

its attorney's fees and costs together with such other and further relief to which it may be

justly entitled.

                                               Respectfully submitted,

                                                      ls/Blair Dancy
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                                               COMPANY




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                                  CERTIFICATE OF SERVICE

          I certify that a true and correct copy of the foregoing has been forwarded to all counsel
   of record in accordance with the Texas Rules of Civil Procedure on this 2nd day of March
   2020, as follows:

 Method      of Service              Party(ies)                              Counsel
Electronic    service             Plaintiff             Robert D. Brown
                                                        Mark A. Youngjohn
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Electronic    Service            Defendants             H. Dwyane Newton
                            TanMar Rentals, LLC,        NEWTON, JONES &SPAETII
                             TanMar Companies,          3405 Marquart
                              LLC, and TanMar           Houston, Texas 77027
                            Communications, LLC         dnewton@newton-lawyers.com



                                                         Isl Blair Dancy
                                                  Blair Dancy




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